Case 2:16-cv-07047-JFB-ARL Document 56 Filed 01/10/19 Page 1 of 3 PageID #: 589




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  KARIN MURPHY CARO,
                                                         Plaintiff,
                     -agaiust-
                                                                         STIPULA nON OF
  THOMAS J. SPOTA, DislrictAttorney                                      DISCONTINUANCE
  Suffolk COlUlty,
  SUFFOLK COUNTY POLICE DEPARTMENT,
  COUNTY OF SUFFOLK, DAVID A. MURRAY,                                    16-cv-7047(JFB)(ARL)
  EDWIN Y. HUGH, JOHN P. MIRANDA, RICHARD
  MARRA, WILLIAM MURPHY, ALEXANDER 1. CARO,
  KARIN SPEER and LAUREN DOSKOEZ,
                                                    Defendants.




           IT lS HEREBY STIPULATED AND AGREED, by and between the undersigned.

  counsel for the respective parties hereto, that the above-captioned aotion be, and the same hereby

  is volUlltarily dismissed with prejudice, pursuant to F.R.C.P. Rule 41(a)(I), without costs or

  attorneys' fees to any party, and

           IT IS FURTHER Sl'IPULATED AND AGREED that this Stipulation may be so
   ordered via endorsement hereon without further notice to any patty.



  Dated:



  J es A. Epstein, s
  Jules A. Epstein P.C.
  Attorney for Plaintiff
  521 RXR Plaza
  East Tower - Suite 521                               By: Aerleas S. LwiHing
  Uniondale, NY 11556                                  Assistant County Attorney
                                                       H. Lee pennison Bldg.
                                                       100 Veterans Memorial Highway
                                                       Hauppauge, New York 11788
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                                                                    Lauren Doskoez           .
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                                                          DATED: ____________
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                                        William M. G arty, Esq.
                                        Attorney for Kalin Speer and
                                        Lauren Doskoez
                                        168 Smithtown Blvd
                                        Nesconset, NY 11767




                                 SO ORDERED:

                           DATED; ____________


                         HaN. JOSEPHF. BlANCO, U.S.DJ.
